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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIR E



United States of America

           V.                           Criminal No . 07-cr-252-01-02-J D

Eduardo K . Fernandez-Avalos
Maria C . Rosario



                                O R D E R



     The assented to motion to reschedule jury trial (document no .

33) filed by the government is granted . Trial is to be rescheduled

for August 5, 2008 .

     The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U .S .C .    § 3161(h)(8)(B)(iv), for

the reasons set forth in the motion .

     SO ORDERED .




                                  /s/ Joseph A . DiClerico, Jr .
                                  Joseph A . DiClerico, Jr .
                                  United States District Judg e

Date : July 14, 200 8




cc : Mark Irish, Esq .
      Steven Gordon, Esq .
      Paul Twomey, Esq .
      U .S . Marsha l
      U .S . Probation
